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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------)(
MARY WEST, on behalf of himself and all others
similarly situated,
                                                               Case No. I :20-cv-5178
                                            Plaintiffs,

                   -against-

MOSS NUTRITION PRODUCTS, INC..

                                             Defendant
----------------------------------------------------------)(
                                            CONSENT DECREE

                   I.     This Consent Decree is entered into as of the Effectiv e Date, as defined

below in Paragraph II , by and between the following parties: Plaintiff Mary West

("Plaintiff') and Defendant Moss Nutrition Products , Inc. ("Defendant"). Plaintiff and

Defendant shall hereinafter be collectively referred to as the '·Parties" for the purposes and on the

terms specified herein.

                                                  RECITALS

                   2.     Title Ill of the Americans with Disabilities Act of 1990 ("'ADA"), 42

U.S.C. §§ 12181-12189 ("ADA") and its implementing regulation , 28 C.F.R. pt. 36, prohibit

discrimination on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages , and accommodations by any private entity that

owns, leases (or leases to), or operates any place of public accommodation. 42 U.S.C. §

12182(a); 28 C.F.R. § 36.20l(a).

                   3.     On or about July 17, 2020, Plaintiff filed a purported class action

complaint ("Complaint") in the United States District Court for the Southern District of New

York (the ·'Court"), captioned Mary West v. Moss Nutrition Products, Inc., Case Number: 1:20-




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cv-5178          (the   '·Action").   Plaintiff       alleges   that   Defendant's      website ,

https ://www.mossnutriti on. com (the ··website"), is not fully accessible to blind or visually-

impaired individuals in violation of Title Ill of the Americans with Disabilities Act of 1990

("'ADA"'), the New York State Human Rights Law ("NYSHRL"), and the New York City

Human Rights Law ("'NYCHRL").

                   4.   Defendant disputes and expressly denies the allegations in the

Complaint, including the allegation that the Website violates any federal , state or local law,

including the ADA , NYSHRL, and the NYCHRL, and all other material allegations that were or

could have been set forth in the Action.

                   5.   The Parties mutually desire to settle the Action to avoid cost and

inconvenience of litigation and without admission of fault, liability or wrongdoing by either

Party.

                   6.   This Consent Decree resolves, settles, and compromises all issues

between the Parties in the Action.

                   7.    This Consent Decree is entered into by Plaintiff, individually, but is

intended to inure to the benefit of vision impaired individuals who are purported members of

the class alleged in the Complaint.

                                           JURISDICTION

                   8.   Plaintiff alleges that Defendant is a private entity that owns and/or

operates the Website which is available through the internet to personal computers, laptops,

mobile devices , tablets , and other similar technology. Plaintiff contends that the Website is a

service, privilege, or advantage of a place of public accommodation subject to Title 111 of the

ADA. 42 U.S.C. §12181(7); 12182(a). Defendant denies that the Website is a public




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 accommodation or that it is a place of public accommodation or otherwise subject to Title Ill

 of the ADA, NYSHRL, and/or NYCHRL.

                   9.     This Court has jurisdiction over the Action under 28 U.S.C. § 1331 and

 42 U.S.C. § 12188. Defendant objects to the exercise of jurisdiction over it by this Court in

· this venue, except to the extent that it waives such objection in regard to the settlement of

 this Action and this Consent Decree. In that regard. The Parties agree that exclusively for

 purposes ofthe settlement of this Action and this Consent Decree, venue is appropriate.

                                     AGREED RESOLUTION

                   I 0.   Plaintiff and Defendant agree that it is in the Parties' best interest to

 resolve the Action on mutually agreeable terms without further litigation or any admission of

 fault , liability or concession that the Defendant is generally subject to personal jurisdiction in

 this venue. Accordingly, the Parties agree to the entry of this Consent Decree without trial or

 further adjudication of any issues of fact or law raised in Plaintiffs Complaint. In resolution

 of this Action , the Parties hereby AGREE to the following:

                                           DEFINITIONS

                   II.    Effective Date means the date on which this Consent Decree is entered

 on the Court's Docket Sheet following approval by the Co urt.

                   12.    Reasonable Efforts means, with respect to a given goal or obligation ,

the efforts that a reasonable person or entity in Defendant's position would use to achieve

that goal or obligation. Any disagreement by the Parties as to whether Defendant has used

 Reasonable Efforts as provided for under this Consent Decree shall be subject to the dispute

 resolution procedures set forth in paragraphs 17 through 21 of this Consent Decree .

Reasonable Efforts shall be interpreted so as to not require Defendant to undertake efforts the




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cost. difficulty or impact on the Website of which could constitute an undue burden , as

defined in Title 111 of the ADA but as applied solely to the Website - as though the Website

were a standalone business entity, or which efforts could result in a fundamental alteration in

the manner in which Defendant operates the Website - or the primary functions related

thereto, or which could result in a loss of revenue or traffic on its Website related operations.

                                                  TERM

                    13.    The term of this Consent Decree shall commence as of the Effective

Date and remain in effect for the earlier of: (a) eighteen (18) months from the Effective Date;

(b) the date, if any, that the United States Department of Justice adopts regulations for

websites under Title UI of the ADA ; or (c) such date as may be extended by mutual

agreement of the Parties.

                      GENERAL NONDISCRIMINATION REQUIREMENTS

                    14.    Pursuant to the terms of this Consent Decree , Defendant:

               a.   shall not deny persons with a disability (as defined under the ADA) , including

                    the Plaintiff, the opportunity to participate in and benefit from the goods,

                    services, privileges, advantages, and accommodations through the Website as

                    set forth herein. 42 U.S .C. § 12182(b)(l )(A)(i) ; 28 C .F.R. § 36.202(a);

               b. shall use Reasonable Efforts to provide persons with a disability (as defined

                    under the ADA) , including Plaintiff. an equal opportunity to participate in or

                    benefit from the goods , services, privileges, advantages, and accommodations

                    provided   through    the   Website    as   set   forth   herein.   42   U.S.C.   §

                    12182(b)(2)(A)(ii); 28 C.F.R. § 36.202(b); and




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               c. shall use Reasonable Efforts to ensure that persons with a disability (as

                  defined under the ADA). including Plaintiff, are not excluded, denied services,

                  segregated, or otherwise treated differently because of the absence of auxiliary

                  aids and services, through the Website as set forth herein. 42 U.S.C. §

                  12182(b)(2)(A)(i ii ); 28 C.F.R. § 36.303.

                  WEBSITE COMPLIANCE WITH TITLE III OF THE ADA

                  15.    Web    Accessibility   Conformance     Timeline:   Defendant shall        use

Reasonable Efforts to ensure full and equal enjoyment of the goods, services, privileges ,

advantages, and accommodations provided by and through the Website (including all pages

therein or pages under Defendant's control and ownership which can be navigated to through

a link in the Website) according to the following timeline and requirements provided that the

following dates will be extended in the instance that the Department of Justice issues

regulations for websites under Title HI of the ADA while this Consent Decree is in effect and

which contain compliance dates and/or deadlines further in the future than the dates set forth

herein :

               a. Within eighteen ( 18) months of the Effective Date, the Defendant shall modify

                  the Website as needed to substantially conform to the Web Content

                  Accessibility Guidelines 2.0 and/or Web Content Accessibility Guidelines 2. 1

                  Level A and AA Success Criteria to the extent determined to be applicable, or

                  any other WCAG guidelines deemed to be applicable. in such a manner so that

                  the Website will be reasonably accessible to persons with vision disabilities.

               b. The Patties acknowledge that Defendant"s obligations under this Agreement do

                  not include: (i) substantial conformance with WCAG standards for user-generated




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                  content and/or other content or advertisements and/or Websites Defendant do not

                  own, operate, prepare or control but that are linked from the Website (including.

                  but not limited to, any content/Website hosted by third pat1ies and implemented

                  on the Website); and (ii) the provision of narrative description for videos. The

                  Parties also agree that if the U.S. Depat1ment of Justice or a Court with

                  jurisdiction over this matter determines that the WCAG standards or any

                  successor standard that Defendant may have utilized are not required by

                  applicable law, Defendant may choose, in their discretion , to cease the

                  remediation efforts described above.

               c. In achieving such conformance, Defendant may, among other things, rely upon, in

                  whole or in part, the User Agent Accessibility Guidelines ("UAAG") 1.0; the

                  Authoring Tool Accessibility Guidelines ("ATAG") 2.0; the Guidance on

                  Applying    WCAG     2.1   to   Non- Web   Information    and   Communications

                  Technologies ("WCAG2.11CT"), published by the Web Accessibility Initiative of

                  the World Wide Web Consortium (""W3C"): as well as other guidance published

                  by the W3C's Mobile Accessibility Task Force; the British Broadcasting

                  Corporation Mobile Accessibility Standards and Guidelines 1.0 ("BBCMASG

                  1.0") or any combination thereof. If Defendant, in reasonably relying upon any of

                  the foregoing, fails to achieve substantial conformance with the applicable

                  WCAG standard, Defendant will have nonetheless met its obligations.

               d. If Defendant is unable to achieve substantial conformance with the applicable

                  WCAG guidelines despite having used Reasonable Efforts to achieve




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                  substantial conformance, it shall be deemed to have satisfied its obligations

                  under this Agreement as set forth herein regarding remediation of the Website.

                              SPECIFIC RELIEF TO PLAINTIFF

                  16.    Specific Relief: Plaintiff and Defendant have agreed to settle all matters

relating to costs, damages, attorneys· fees , experts· fees, other financial matters. relating to

any alleged inaccessibility of the Website through a separate agreement (the " Settlement

Agreement"), the remedial portions of which are hereby incorporated by reference into this

Consent Decree.

                        PROCEDURES IN THE EVENT OF DISPUTES

                  17.   The procedures set forth in Paragraphs          18 through 20 must be

exhausted in the event that (i) Plaintiff alleges that Defendant has failed to meet its

obligations pursuant to this Consent Decree or (ii) Defendant alleges that there is a criteria of

the applicable WCAG standard with which it cannot substantially comply as set forth herein.

There will be no breach of this Consent Decree by Defendant in connection with such

allegations until the following procedures have been exhausted.

                  18.   If any ofthe Parties claim this consent Decree or any portion of it has been

violated ("breach"), the party alleging the breach shall give written notice (including reasonable

particulars) of such violation to the party alleged to be in breach. The alleged breaching party

must respond to such written notice of breach no later than thirty (30) calendar days thereafter

(the "Cure Period"), unless the parties agree to extend the time for response . If the alleged breach

is of a nature that it cannot be cured during the Cure Period, the parties shall mutually extend the

Cure Period to reflect the reasonable time period in which the alleged breach can be cured. lf the

parties are unable to reach a mutually acceptable resolution during the Cure Period, or any




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       extension thereof, the pat1y alleging a breach of the Consent Decree may seek enforcement of

       compliance with this Consent Decree from the Court. The Court shall , in its discretion, award

       reasonable attorneys' fees and costs to the prevailing patty in any such enforcement action.

                      19.    There will be no breach of this Consent Decree unless (a) -an

       independent accessibility consultant, mutually agreed to by the Parties or their respective

       accessibility consultants ("accessibility consultant")     determines that a particular item(s)

       cannot be accomplished by a person with a disability who has average screen reader

       competency using a prominent commercially available screen reader such as Jaws,

       Yoiceover, or NVDA      111   combination with one of the following browsers (in versions of

       which that are currently supported by their publishers): Internet Explorer, Firefox, Safari and

       Chrome; and (b) Defendant fails to remedy the issue using Reasonable Efforts within a

       reasonable period of time of not less than ninety (90) days from receipt of the accessibility

       consultant's opinion. If the accessibility consultant believes that a reasonable time using

       Reasonable Efforts to remedy the items found not to be usable is longer than ninety (90)

       days, then the Parties may agree on a longer time period without leave of Court so long as

       the extension is documented in writing and executed by the Parties to this Agreement or their

       respective counsel. lf the accessibility consultant finds that a particular item found not to be

       usable cannot be remedied using Reasonable Efforts. Defendant shall not be obligated to

       remedy that item.

                      20.    Any notice or communication required or permitted to be given to the

       Parties hereunder shall be given in writing by e-mail and by overnight express mail or United

       States first class mail, addressed as follows:




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                  For PLAINTIFF:                     Yaakov Saks
                                                     STEIN SAKS PLLC
                                                     285 Passaic Street
                                                     Hackensack, NJ 0760 I
                                                     Tel: 201.282.6500
                                                     E-mai I: ysaks@steinsakslegal.com


                  For DEFENDANT:                     Shari Claire Lewis
                                                     RIVKIN RADLER LLP
                                                     926 RXR Plaza
                                                     Uniondale, NY 11556
                                                     Tel: (516) 357-3292
                                                     E-mail: shari.lewis@rivkin.com

                                        MODIFICATION

                  2 I.   No modification of this Consent Decree shall be effective unless in

writing and signed by authorized representatives of all Parties. Notwithstanding the

foregoing, the Parties may mutually consent to the modification or extension of any deadline

hereunder without requiring approval by the Co urt.

                         ENFORCEMENT AND OTHER PROVISIONS

                  22.    The interpretation and enforcement of this Consent Decree shall be

governed by the laws of the State ofNew York.

                  23.    This Consent Decree contains the entire agreement of the Plaintiff and

the Defendant concerning the subject matter described in Paragraph 3, other than the terms of

the Settlement Agreement, and no other statement, promise, or agreement. either written or

oral, made by any party or agent of any party, that is not contained in this Consent Decree ,

and concerns the subject matter described in Paragraph 3, shall be enforceable, other than the

Settlement Agreement.

                  24.    If any provision of this Consent Decree is determined to be invalid ,

unenforceable, or otherwise contrary to applicable law. such provision shall be deemed




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restated to reflect as nearly as possible and to the fullest extent permitted by applicable law

its original intent and shall not, in any event, affect any other provisions, all of which shall

remain valid and enforceable to the fullest extent permitted by applicable law.

             PERSONS BOUND AND INTENDED THIRD-PARTY BENEFICIARIES

                 25.   The Parties to this Consent Decree expressly intend and agree that this

Consent Decree shall inure to the benefit of all persons with vision disabilities as defined by

the ADA, including those who utilize a screen reader to access the Website , which disabled

persons shall constitute third-party beneficiaries to this Consent Decree.

                 26.   The signatories represent that they have the authority to bind the

respective parties, Plaintiff and Defendant to this Consent Decree.




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                             CONSENT DECREE HAS BEEN READ

                   27.    This Consent Decree has been carefull y read by each of the Parties. and

its contents are known and understood by each of the Part ies. This Consent Decree is signed

freely by each party executing it. The Parties each had an opportunity to consu lt with their

counsel prior to executing the Consent Decree.

                                                       PLAINTIFF

Dated:        9-24-2020                                By:    :1\~P':-rUJ~,


Dated             1~
                                                       Its:   /res;~-::(
APPROVED AS TO FORM AND CONTENT:
                                                       PLAINTIFF"S LA WYE RS
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                                                               ~ --, ":::?.
                  ?o_____
Dated: __9_12_-l_l__                                   B y: __~~~-~-c===~--
                                                              Dav id Force
                                                       STEIN SAKS PLLC
                                                       285 Passaic Street
                                                       Hackensack, N.J 0760 1
                                                       Tel: 201.282.6500


                                                       DEFENDANTS LA WY ERS


Dated:        1 /3ojz_o                                By:                       J
                                                             Shari Cla ire Lewis
                                                       RIVKIN RADL ER LLP
                                                       926 RXR Plaza
                                                       Uniondale. New York 11556




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     COURT APPROVAL, ADOPTION, AND ENTRY OF THE CONSENT DECREE

                   THE COURT, HAVING CONSIDERED the pleadings, law, underlying

facts and having reviewed this proposed Consent Decree,

FINDS AS FOLLOWS:

              I)   This Court has jurisdiction over the Action under 28 U.S. C. § 1331 and 42

U.S.C. § 12188;

          2)       The provisions of this Consent Decree shall be binding upon th e Parties;

          3)       Entry of this Consent Decree is in the public interest;

          4)       This Consent Decree is for settlement purposes only and does not constitute an

admission by Defendant of any of the allegations contained in the Co mpla int or any other

pleading in this Action, nor does it constitute any finding of liability against Defendant;

          5)       The Plaintiff is acting as a private attorney general in bringing the Action and

enforcing the ADA ;
                                          to enforce this Consent Decree
          6)       The Court"s jurisdiction xxxxxxxxxxxxxxx
                                            over this matter shall continue for 36 months; and

          7)       This Consent Decree shall be deemed as adjudicating, once and for all , the

merits of each and every claim, matter, and issue that was alleged , or could have been

alleged by Plaintiff in the Action based on , or arising out of, or in connection with, the

allegations in the Complaint.

                   NOW THEREFORE, the Court approves the Consent Decree and in doing so

specifically adopts it and makes it an Order of the Court .

                   SO ORDERED:

                   Dated: October 2, 2020
                          New York, New York                      U.S.D.J.




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